Case 2:22-cv-14102-DMM Document 345 Entered on FLSD Docket 09/29/2023 Page 1 of 4
    USCA11 Case: 23-13177 Document: 1-1 Date Filed: 09/28/2023 Page: 1 of 3


                        UNITED STATES COURT OF APPEALS
                           FOR THE ELEVENTH CIRCUIT
                             ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                           56 Forsyth Street, N.W.
                                           Atlanta, Georgia 30303

   David J. Smith                                                           For rules and forms visit
   Clerk of Court                                                           www.ca11.uscourts.gov


                                       September 28, 2023
                                                                                          JG

   Jason C. Greaves
   Binnall Law Group, PLLC                                                  Sep 28, 2023
   717 KING ST STE 200
   ALEXANDRIA, VA 22314                                                                      MIAMI



   Alina Habba
   Habba Madaio & Associates LLP
   1430 US HWY 206 STE 240
   BEDMINSTER, NJ 07921

   Garrett Edward Kesl
   Ticktin Law Group, PA
   270 SW NATURA AVE
   DEERFIELD BEACH, FL 33441

   Michael T. Madaio
   Habba Madaio & Associates LLP
   1430 US HWY 206 STE 240
   BEDMINSTER, NJ 07921

   Jared Joseph Roberts
   Binnall Law Group, PLLC
   717 KING ST STE 200
   ALEXANDRIA, VA 22314

   Jamie Alan Sasson
   Ticktin Law Group, PA
   270 SW NATURA AVE
   DEERFIELD BEACH, FL 33441

   Mr. Peter David Ticktin
   Ticktin Law Group, PA
   270 SW NATURA AVE
   DEERFIELD BEACH, FL 33441

   Appeal Number: 23-13177-J
Case 2:22-cv-14102-DMM Document 345 Entered on FLSD Docket 09/29/2023 Page 2 of 4
    USCA11 Case: 23-13177 Document: 1-1 Date Filed: 09/28/2023 Page: 2 of 3



   Case Style: Donald Trump, et al v. Hillary Clinton, et al
   District Court Docket No: 2:22-cv-14102-DMM

                                   CIVIL DOCKETING NOTICE

   The above-referenced appeal has been docketed in this Court. All documents filed in this appeal
   must include the Case Style and Appeal Number shown above.

   Appellant Requirements
   Unless the following requirements have already been satisfied, within 14 days of the date of
   this notice the appellant MUST:

      1. Pay to the District Court the Filing Fee OR File a Motion to Proceed In Forma
         Pauperis (IFP) in the district court. See FRAP 3(e), FRAP 24.

          If the filing fee is not paid and a motion to proceed IFP has not been filed in the
          district court within 14 days of the date of this notice, this appeal will be
          dismissed without further notice pursuant to 11th Cir. R. 42-1(b).

          If the district court has denied the appellant IFP status on appeal, the appellant
          has 30 days from the date of the district court's order to file an IFP motion in
          this Court. See FRAP 24(a)(5).

      2. File in this Court AND in the district court a Transcript Order Form OR file a certificate
         in this Court stating no transcripts will be ordered. See FRAP 10(b)(1), 11th Cir. R. 10-
         1. (Not applicable in certain bankruptcy appeals. See FRAP 6(b)).

          If no transcripts are ordered, appellant's brief is due 40 days after 09/28/2023,
          except as otherwise provided by the rules. See 11th Cir. Rules 12-1 and 31-1.

      3. File a Certificate of Interested Persons and Corporate Disclosure Statement (CIP). See
         11th Cir. R. 26-1(a)(1).

      4. Complete the Web-Based CIP (attorneys only). See 11th Cir. R. 26.1-1(b).

      5. File a Civil Appeal Statement (attorneys only). See 11th Cir. R. 33-1(a)(3).

   Mediation
   If a Civil Appeal Statement is required to be filed and the appeal is fully counseled on all sides,
   your appeal will be reviewed and considered for mediation. Mediation services are at no cost to
   the parties. If no Civil Appeal Statement is required or you or any party to the appeal is self-
   represented or pro se then the appeal is not eligible for mediation. See 11th Cir. R. 33-1.
Case 2:22-cv-14102-DMM Document 345 Entered on FLSD Docket 09/29/2023 Page 3 of 4
    USCA11 Case: 23-13177 Document: 1-1 Date Filed: 09/28/2023 Page: 3 of 3



   Appellee Requirements
   Unless the following requirements have already been satisfied, within 28 days of the date of
   this notice, all appellees participating in this appeal MUST:

      1. File a CIP or a notice. See 11th Cir. R. 26.1-1(a)(3).

      2. Complete the Web-Based CIP (attorneys only). See 11th Cir. R. 26.1-1(b).

   Attorney Participation
   All attorneys (except court-appointed attorneys) who wish to participate in this appeal must file
   an Appearance of Counsel Form within 14 days of the date of this notice. See 11th Cir. R. 46-
   6(b). Please also see FRAP 46 and the corresponding circuit rules.

   All counsel must file documents electronically using the Electronic Case Files ("ECF") system,
   unless exempted for good cause. Although not required, non-incarcerated pro se parties are
   permitted to use the ECF system by registering for an account at www.pacer.gov. Information
   and training materials related to electronic filing are available on the Court's website.

   Obligation to Notify Court of Change of Addresses
   Each pro se party and attorney has a continuing obligation to notify this Court of any changes to
   the party’s or attorney’s addresses during the pendency of the case. See 11th Cir. R. 25-7.

   Additional Information
   Rules, forms, and additional information, including a handbook for pro se litigants, can be
   found at www.ca11.uscourts.gov.

   Clerk's Office Phone Numbers
   General Information: 404-335-6100          Attorney Admissions:         404-335-6122
   Case Administration: 404-335-6135          Capital Cases:               404-335-6200
   CM/ECF Help Desk: 404-335-6125             Cases Set for Oral Argument: 404-335-6141



                                                                       CIVIL - Notice of Docketing
Case 2:22-cv-14102-DMM Document 345
                                344 Entered on FLSD Docket 09/29/2023
                                                           09/27/2023 Page 4
                                                                           1 of 4
                                                                                3
    USCA11 Case: 23-13177 Document: 1-2 Date Filed: 09/28/2023 Page: 1 of 3


                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

   DONALD J. TRUMP,

                            Plaintiff,

   v.                                              CASE NO. 2:22-cv-14102-DMM

   HILLARY R. CLINTON, HFACC, INC.,
   DEMOCRATIC NATIONAL COMMITTEE,                  NOTICE OF CIVIL APPEAL
   DNC SERVICES CORPORATION,
   PERKINS COIE, LLC, MICHAEL
   SUSSMANN, MARC ELIAS, DEBBIE
   WASSERMAN SCHULTZ, CHARLES
   HALLIDAY DOLAN, JR., JAKE
   SULLIVAN, ADAM SCHIFF, JOHN
   PODESTA, ROBERT E. MOOK, PHILLIPE
   REINES, FUSION GPS, GLENN SIMPSON,
   PETER FRITSCH, NELLIE OHR, BRUCE
   OHR, DEFENDANT BUSINESS
   INTELLIGENCE, LTD., CHRISTOPHER
   STEELE, IGOR DANCHENKO, NEUSTAR,
   INC., NEUSTAR SECURITY SERVICES,
   RODNEY JOFFE, JAMES COMEY, PETER
   STRZOK, LISA PAGE, KEVIN
   CLINESMITH, ANDREW MCCABE,
   ROD ROSENSTEIN, JOHN DOES 1
   THROUGH 10 (said names being fictitious
   and unknown persons),
   and ABC CORPORATIONS 1 THROUGH 10
   (said names being fictitious and unknown
   entities),

                            Defendants.


         Notice is hereby given that Alina Habba, Habba Madaio & Associates, Michael

   T. Madaio, Peter Ticktin, Jamie A. Sasson, The Ticktin Law Group, and Donald J.

   Trump appeal to the United States Court of Appeals for the Eleventh Circuit from
